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Defective and Dangerous Products A to Z

To begin, please select an item from the list below or from the "Browse" box on the feft.

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Accutane
Ambien

Aredia

Baycol
Benzene
Beryllium
Bextra ><
Celebrex
Celexa

Cialis

Crestor
Darvon / Darvocet
Duragesic Patch

 

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« Mirapex

e Motor Vehicle Defects
Neurontin SE
Ortho Evra Patch
Paxil
Perchlorat

ine HCl

 
